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                          UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF WEST VIRGINIA


 JONATHAN R., et al.,                                )
                                                     )
 Plaintiffs,                                         )
                       v.                            )
                                                     )
 JIM JUSTICE, in his official capacity as            )   Case No. 3:19-cv-00710
 Governor of West Virginia, et al.,                  )
                                                     )
 Defendants.                                         )


MEMORANDUM IN SUPPORT OF DEFENDANTS’ MOTION TO STAY DISCOVERY
   PENDING RESOLUTION OF DEFENDANTS’ MOTION TO DISMISS AND,
   IF APPROPRIATE, PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION

        On July 20, 2022, the United States Court of Appeals for the Fourth Circuit reversed this

Court’s dismissal of Plaintiffs’ claims. Jonathan R. v. Justice, 41 F.4th 316 (4th Cir. 2022).

Defendants believe that the Fourth Circuit’s decision misapplies Supreme Court precedent and

have filed a petition for a writ of certiorari with the United States Supreme Court. See Justice v.

Jonathan R., petition for cert. filed, No. 22-240 (U.S. Sept. 12, 2022).

        However, this case has been remanded to this Court to “consider West Virginia’s

substantive arguments for dismissal and, if appropriate, Plaintiffs’ motion for class certification.”

Jonathan R., 41 F.4th at 324. This Court’s decisions on these motions – i.e., Defendants’ Motion

to Dismiss (ECF No. 17) and Plaintiffs’ Motion for Class Certification (ECF No. 130) – will

determine the scope of discovery, if any, that remains to be conducted and therefore, in the interest

of efficiency and economy, Defendants respectfully ask that the Court stay further discovery

pending its resolution of the motions.

        As further explained below, Plaintiffs’ discovery demands in this case have been so

ambitious and expansive that this case long ago became the most burdensome case that the


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Department of Health and Human Resources (“DHHR”) has defended against in at least the last

15 years, requiring thousands of hours of time from DHHR staff and contractors. See ECF No.

156-1, ¶ 6; Ex. 1 (Peisch Decl.). Although only three weeks of written discovery remained at the

time the case was dismissed, see ECF No. 209, Plaintiffs have made clear that they intend to re-

start discovery immediately and will ask for an additional six months of discovery after the Court

rules on class certification, if the Court certifies the class. Yet the scope of any remaining

discovery depends on: (1) whether any or all of Plaintiffs’ claims should be dismissed under Rule

12(b)(6) for failure to state a cause of action; (2) whether Younger abstention is appropriate for

children entering DHHR custody as a result of juvenile justice proceedings, an issue on which the

Fourth Circuit declined to rule; (3) if there are remaining claims, whether the putative class meets

the requirements for certification under Rule 23; and (4) if no class is certified, whether any Named

Plaintiffs remain with live claims against Defendant. Staying discovery until these issues are

resolved will avoid unnecessary discovery and conserve judicial resources by minimizing

discovery disputes.

                                         BACKGROUND

       On September 30, 2019, Named Plaintiffs, on behalf of themselves and a putative class and

three subclasses of foster children, sued the West Virginia Department of Health and Human

Resources (“DHHR”) and several state officials, including Governor Jim Justice (collectively,

“Defendants”). ECF No. 1. The Complaint raises five claims based on system-wide allegations

about the operation of West Virginia’s child welfare system. See id.

       On November 26, 2019, Defendants moved to dismiss the complaint. ECF No. 17. In the

motion to dismiss, Defendants argued that the Court should abstain from exercising jurisdiction

over Plaintiffs’ claims, see ECF No. 18, at 4-14, and that the Complaint failed to state a claim upon



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which relief may be granted, see id. at 14-38. While the motion to dismiss was pending, Plaintiffs

filed a motion for class certification and appointment of class counsel, which Defendants opposed.

ECF Nos. 130, 131, 174.

       On July 28, 2021, the Court granted Defendants’ motion to dismiss on abstention grounds,

and the Court granted Defendants’ motions to dismiss as moot the claims of six of the named

Plaintiffs who had exited DHHR custody. ECF No. 258. Because the Court dismissed the case

on abstention grounds, the Court did not reach a decision on Defendants’ arguments that Plaintiffs’

claims should be dismissed for failure to state a claim under Rule 12(b)(6), and the Court did not

decide Plaintiffs’ motion for class certification.

                                           ARGUMENT

       Pursuant to Rule 26(c), this Court has broad discretion to stay discovery when there is good

cause to do so. See, e.g., Fed. R. Civ. P. 26(c); Thigpen v. United States, 800 F.2d 393, 396-97

(4th Cir. 1986), rev’d on other grounds by Sheridan v. United States, 487 U.S. 392 (1988). While

“[t]he Fourth Circuit has had little occasion to consider motions to stay discovery because orders

granting or denying such motions are not final orders, nor are they appealable interlocutory or

collateral orders,” Blankenship v. Napolitano, No. 19-236, 2019 WL 6173530, *2 n.4 (S.D. W.

Va. Nov. 19, 2019) (unpublished), “[a] number of factors, none wholly dispositive,” guide courts

in assessing whether there is good cause to stay discovery pending a decision on a motion,

including but not limited to:

               (1) the type of motion, (2) whether the motion is a legal challenge
               or dispute over the sufficiency of allegations, (3) the nature and
               complexity of the action, (4) whether counterclaims and/or cross-
               claims have been interposed, (5) whether other parties agree to the
               stay, (6) the posture or stage of the litigation, [(7)] the expected
               extent of discovery in light of the number of parties and complexity
               of the issues in the case, [(8)] and any other relevant circumstances.



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Citynet, LLC v. Frontier West Virginia Inc., No. 14-15947, 2016 WL 6133844, at *1 (S.D. W. Va.

Oct. 19, 2016) (internal quotations omitted) (unpublished). “Alternatively, a three-factor analysis

has been applied when considering whether to grant a motion to stay discovery. These factors are:

(1) the interests of judicial economy; (2) hardship and equity to the moving party if the action is

not stayed; and (3) potential prejudice to the non-moving party.” Blankenship, 2019 WL 6173530

at *3 (internal quotation marks omitted).

        This Court has repeatedly observed that staying discovery pending a decision on a

dispositive motion “‘is an eminently logical means to prevent wasting the time and effort of all

concerned, and to make the most efficient use of judicial resources.’” Id. at *2 (quoting United

States v. Daily Gazette Co., No. 07-0329, 2007 WL 7575700, *2 (S.D.W. Va. Oct. 18, 2007)

(unpublished)); accord Bragg v. United States, No. 10-683, 2010 WL 3835080, *1 (S.D. W. Va.

Sept. 29, 2010) (unpublished). Similarly, there may be good cause to stay discovery pending a

decision on a motion for class certification, particularly when class certification discovery is

complete and the moving party has already had “a significant period of time” for discovery, see

ECF No. 156-10 (Order, Burges v. Bancorpsouth, Inc., Case No. 14-cv-01564 (M.D. Tenn. Mar.

28, 2017)); see also ECF No. 156-11 (Order, Erica P. John Fund, Inc. v. Halliburton, Case No.

02-cv-01152 (N.D. Tex. July 22, 2014) (unpublished) (granting motion to stay discovery pending

decision on class certification)).

        In this case, there is good cause to stay discovery pending decisions on Defendants’ motion

to dismiss and (if necessary) Plaintiffs’ motion for class certification, because resolution of those

two motions is likely to eliminate the need for, or at least narrow the scope of, discovery. 1 For



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 Cf., e.g., Oakley v. Coast Prof’l, Inc., No. 21-00021, 2021 WL 3520539, *3 (S.D. W. Va. Aug.
10, 2021) (unpublished) (staying discovery in part because “it appears that the discovery, if not
very complicated in terms of disputed facts, will be burdensome,” and that discovery “will be
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example, until Defendants’ motion to dismiss is resolved, it is not clear if any of Plaintiffs’ five

claims will move forward, and even if one or more claims survive the motion to dismiss, it is still

not clear whether this case involves claims on behalf of the Named Plaintiffs only or on behalf of

a putative class. In fact, even if the case is not dismissed entirely, it is not even clear which of the

Named Plaintiffs have live claims until the motion for class certification is decided, because the

Fourth Circuit held that the Named Plaintiffs who are no longer in DHHR custody should not be

dismissed as moot if this Court “decides to certify the class.” Jonathan R., 41 F.4th at 326.

       Similarly, it is not clear whether this case will include claims on behalf of children who

entered DHHR custody through the juvenile justice system, in addition to children who entered

DHHR custody through abuse-and-neglect proceedings. As the Fourth Circuit explained, “this

question closely intertwines with class certification and may resolve itself if the district court

concludes no named Plaintiff can adequately represent children who enter the system as part of

delinquency proceedings and Plaintiffs choose to go ahead with the Class as is rather than amend

their complaint.” See Jonathan R., 41 F.4th at 330 n.5.

       Amidst this uncertainty, it would be extraordinarily challenging and burdensome for the

parties to efficiently engage in discovery, particularly given the expansive scope of discovery that

Plaintiffs will pursue if discovery re-opens. In the first 16 months of discovery in this case,

Defendants spent over 3000 hours of staff and contractor time producing over 211,000 pages

documents in response to Plaintiffs’ 151 document requests and on preparing for and defending

Plaintiffs’ 15 depositions of Defendants’ employees, see ECF No. 156-1, ¶¶ 1(a), 3, 4, 5; Ex. 1.

During this time, Plaintiffs repeatedly sought premature discovery into classwide merits issues,




entirely unnecessary if the court dismisses the case, and if the court does not, a short delay should
not jeopardize the availability of the evidence”).

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see, e.g., ECF No. 156-7, 2 resulting in repeated disputes about the scope of permissible discovery,

see, e.g., ECF No. 165, at 5 n.4; ECF No. 243 at 7:16-23, 34:17 – 35:16; Ex. 2.

        While only three weeks of written discovery remained when this case was dismissed,

Plaintiffs indicated prior to dismissal that they planned to seek an extension of the discovery

deadlines and that their discovery demands were far from complete. For example, on July 20,

2021, a week before this Court dismissed Plaintiffs’ claims, Plaintiffs informed the Court that they

plan to seek extensive additional discovery on a number of classwide issues. Ex. 2 (Plaintiffs’ July

20, 2021 letter). In addition, at the time this Court granted the motion to dismiss, Plaintiffs had

noticed eight (8) additional fact depositions, including depositions of senior DHHR leadership, see

ECF Nos. 230-236, 250, and had sent Defendants drafts of three (3) additional Rule 30(b)(6)

deposition notices, see Ex. 1. But much, or all, of this discovery will prove unnecessary if the

Court agrees with Defendants that some or all of Plaintiffs’ claims should be dismissed under Rule

12(b)(6), or if the Court agrees with Defendants that class certification is inappropriate in this case.

        Further, Plaintiffs recently informed Defendants that, “[i]f the court denies class

certification, Plaintiffs will seek a stay to appeal the class certification decision to the Fourth

Circuit.” Ex. 3 (e-mail from Plaintiffs’ counsel dated September 12, 2022). Conversely, if the

Court certifies the class, Defendants anticipate that they would seek interlocutory review. As a

result, there is a substantial risk that some of the information gathered through discovery conducted

before a decision on class certification will become stale as one of the parties appeals to the Fourth

Circuit.




2
  See, e.g., Mondragon v. Scott Farms, Inc., 329 F.R.D. 533, 544 (E.D.N.C. 2019); Powell v.
Huntington Nat’l Bank, No. 13-32179, 2014 WL 5500729, at *4-*5 (S.D. W. Va. Oct. 30, 2014)
(unpublished).

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        Finally, a stay would not prejudice Plaintiffs. Staying the case will not have any impact

on the eight (8) Named Plaintiffs who are no longer in DHHR custody, see ECF Nos. 55, 88, 107,

220, and waiting a few more months to determine whether additional discovery is appropriate

would not harm the Named Plaintiffs that remain in custody in any way, particularly since the case

has been functionally stayed since the Court dismissed the claims over a year ago. Cf. Settle v.

Strepp, No. 18-1177, 2020 WL 8184395, *2 (S.D. W. Va. Oct. 14, 2020) (Copenhaver, J.)

(unpublished) (explaining that a further stay of a case was unlikely to harm the non-moving party

in part because the case had already been stayed “for almost one year”). Indeed, if Plaintiffs’

counsel believed that delaying resolution of this case would prejudice the Named Plaintiffs, they

would not be planning to “seek a stay to appeal” in the event this Court denies their motion for

class certification, see Ex. 3.

        Moreover, Defendants continue to move forward with a number of important initiatives

that will benefit putative class members. For example, over the last year DHHR has:

            •   Reorganized the child welfare operations from the former Bureau for Children and

                Families (“BCF”) into the new Bureau for Social Services (“BSS”), which

                streamlines the chain of command for child welfare workers and creates two deputy

                commissioners whose sole focus is child welfare and youth services cases.

            •   Launched a publicly available data dashboard to show information relating to Child

                Protective Service placements, referrals, and workloads, among other things.

            •   Increased caseworker pay by another 15 percent (above the 5 percent given to all

                state workers by the legislature in the 2022 legislative session).




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           •   Retained an outside consultant to review and analyze caseworker workforce issues,

               the results of which will inform future agency actions to expand the number of

               caseworkers in West Virginia.

           •   Continued to work with the U.S. Department of Justice and the University of

               Maryland School of Social Work to implement the Memorandum of Agreement to

               expand access to community-based services for children with serious mental health

               conditions, including foster children. 3

        In fact, there is value to Plaintiffs in staying discovery: it will permit Plaintiffs to tailor

their discovery to only live issues, to the extent any exist after the Court’s decisions, and it will

reserve more of the remaining discovery time until after this Court issues a decision on the motion

for class certification, which Plaintiffs have long claimed they need. As discussed above, prior to

this case being dismissed, Plaintiffs had repeatedly stated that they would need additional

discovery beyond the discovery deadline set by the Court after the Court issued a decision on class

certification, given Magistrate Judge Eifert’s decisions that Plaintiffs were not entitled to certain

burdensome discovery in the absence of class certification, see, ECF No. 165, at 5 n.4; ECF No.

243 at 7:16-23, 34:17 – 35:16. ECF No. 165 at 4-6; Ex. 2. And Plaintiffs recently re-iterated their

request for additional discovery after the motion for class certification is decided. See Ex 3.

Granting the motion to stay discovery would give Plaintiffs exactly that: the remaining discovery



3
  See W.V. BSS, https://dhhr.wv.gov/bss/Pages/default.aspx (last visited Aug. 24, 2022); Salary
Increases Approved for Direct Services Employees and Child Welfare Dashboard to be Published
(May 19, 2022), https://dhhr.wv.gov/News/2022/Pages/Salary-Increases-Approved-for-Direct-
Services-Employees-and--Child-Welfare-Dashboard-to-be-
Published.aspx#:~:text=Gov.,%2C%20effective%20June%2018%2C%202022; see also, e.g.,
Univ. of Md. School of Soc. Work, Agreement between the State of West Virginia and the United
States Department of Justice: Report By Subject Matter Expert (Aug. 2021), available at
https://www.justice.gov/crt/case-document/file/1457936/download.

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would be reserved until after this Court issues a decision on the motion for class certification, if

any claims remain after the Court’s decision on Defendants’ motion to dismiss.

                                         CONCLUSION

       For the foregoing reasons, Defendants request that the Court stay discovery pending

resolution of the pending motion to dismiss and motion for class certification.



                                                     Respectfully submitted,


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                                    CERTIFICATE OF SERVICE

       I, Philip J. Peisch, hereby certify that I caused a true and correct copy of Defendants’

Memorandum in Support of Defendants’ Motion to Stay Discovery Pending Resolution of

Defendants’ Motion to Dismiss and, if appropriate, Plaintiffs’ Motion for Class Certification to be

delivered to the following via ECF notification:

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